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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  COMMISSIONING AGENTS, INC.,                                )
                                                             )
                  Plaintiff,                                 )
                                                             )
  v.                                                         )
                                                             )
  ROBERT G. LONG, Individually;                              )
                                                             )
  HUGH GENERAL MANAGEMENT, LLC,                              )
                                                                   Civil Action No. 1:15-cv-00062-
  d/b/a HUGHCX d/b/a HUGHGM;                                 )
                                                                              TWP-DKL
                                                             )
  HUGHCX, LLC, d/b/a HUGHGM d/b/a                            )
  HUGH GENERAL MANAGEMENT; and                               )
                                                             )
  MISSION CRITICAL COMMISSIONING, LLC                        )
  d/b/a HUGHGM d/b/a HUGHCX                                  )
  d/b/a HUGH GENERAL MANAGEMENT,                             )
                                                             )
                  Defendants.                                )


                 STIPULATION OF DISMISSAL AS TO DEFENDANTS
           ROBERT G. LONG AND MISSION CRITICAL COMMISSIONING, LLC

          Pursuant to Federal Rule of Civil Procedure 41(A)(1)(a)(ii), Plaintiff Commissioning

  Agents, Inc. (“CAI”) and two of the Defendants, Robert G. Long (“Long”) and Mission Critical

  Commissioning, LLC (“Mission Critical”), by their respective counsel, and pursuant to their

  Settlement Agreement, hereby stipulate to the dismissal, with prejudice, of all claims against

  Long and Mission Critical. Each side shall bear its own attorneys’ fees and costs.

          The parties request that the Court retain limited jurisdiction to enforce the terms of the

  Settlement Agreement. Otherwise, because Long and Mission Critical are the only remaining

  Defendants in this case, this dismissal constitutes the end of the instant litigation for all parties.




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                                        Respectfully submitted,

  Dated: February 9, 2017               /s/ Christopher Bayh

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                                        /s/ Arend J. Abel*

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                                        Counsel for Defendants Robert G. Long and
                                        Mission Critical Commissioning, LLC




  * Signature electronically affixed with consent of counsel.




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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that today, February 9, 2017, a copy of the

  foregoing was filed electronically using the CM/ECF system and is available to all

  counsel of record using same.

                                              /s/ Christopher Bayh




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